 Case 2:21-cv-00022-Z Document 606 Filed 05/02/24                     Page 1 of 1 PageID 48639


                               IN THE LINITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         AMARILLO DIVISION

    UNITED STATES OF AMERICA, et ol.,

                 Plaintiffs,

    v                                                            2:21 -CV-022-Z

    PLANNED PARENTHOOD
    FEDERATION OF AMERICA, et al.,

                 Defendants.

                                                 ORDER

            Pursuant to this Court's previous order staying this case in its entirety (ECF No. 601),

the Court DIRECTS the Clerk to administratively close this case             as of the date of this Order
                                                                        -
        for statistical purposes only. The Court will reopen this case upon resolution of PPFA's appeal.
-
Accordingly, the Court DIRECTS the Clerk to administratively terminate all pending motions and

ORDERS the parties to resubmit, once the case has been reopened, any terminated motion that

they may desire the Court to consider.

            SO ORDERED.

            May ?,2024




                                                          MA       W J. KACSMARYK
                                                          I.JNITED STATES DISTRICT JUDGE
